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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                            MDL 2724
PRICING ANTITRUST LITIGATION                              16-MD-2724

                                                          HON. CYNTHIA M. RUFE
THIS DOCUMENT RELATES TO:

IN RE: CLOBETASOL CASES                                   16-CB-27240
All Direct Purchaser, End-Payer, and                      16-CB-27241, 16-CB-27242,
Indirect Reseller Actions                                 16-CB-27243

IN RE: DIGOXIN CASES                                      16-DG-27240
All Direct Purchaser, End-Payer, and                      16-DG-27241,16-DG-27242,
Indirect Reseller Actions                                 16-DG-27243

IN RE: DIVALPROEX ER CASES                                16-DV-27240
All Direct Purchaser, End-Payer, and                      16-DV-27241,16-DV-27242,
Indirect Reseller Actions                                 16-DV-27243

IN RE: DOXYCYCLINE CASES                                  16-DX-27240
All Direct Purchaser, End-Payer, and                      16-DV-27241,16-DX-27242,
Indirect Reseller Actions                                 16-DX-27243

IN RE: ECONAZOLE CASES                                    16-EC-27240
All Direct Purchaser, End-Payer, and                      16-EC-27241,16-EC-27242,
Indirect Reseller Actions                                 16-EC-27243

IN RE: PRAVASTATIN CASES                                  16-PV-27240
All Direct Purchaser, End-Payer, and                      16-PV-27241,16-PV-27242,
Indirect Reseller Actions                                 16-PV-27243


                                            ORDER

       AND NOW, this 16th day of October 2018, upon consideration of the Group 1 Motions

to Dismiss, the responses and replies thereto, and the arguments of counsel, and for the reasons

set forth in the accompanying Opinion, it is hereby ORDERED that the Motions are disposed of

as set forth herein to the extent that they seek to dismiss the Sherman Act claims brought by the

Group 1 Direct Purchaser Plaintiffs (“DPPs”), End-Payer Plaintiffs (“EPPs”), and Indirect
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Reseller Plaintiffs (“IRPs”).1 For purposes of Pretrial Order No. 51, this Order shall constitute

resolution of the Group 1 Motions.

A.        Clobetasol Actions

     1.         Defendants’ Joint Motion to Dismiss the DPPs’ Class Action Complaint [Doc. No. 77
                in 16-CB-27241] is DENIED;
     2.         Defendants’ Joint Motion to Dismiss the EPPs’ Class Action Complaint [Doc. No.
                129 in 16-CB-27242] is DENIED to the extent that it seeks to dismiss the first count
                of the clobetasol EPPs’ Class Action Complaint;
     3.         Defendants’ Joint Motion to Dismiss the IRPs’ Class Action Complaint [Doc. No. 39
                in 16-CB 27243] is DENIED to the extent that it seeks to dismiss the first count of
                the clobetasol IRPs’ Class Action Complaint;
     4.         Defendants Wockhardt USA LLC’s and Morton Grove Pharmaceuticals, Inc.’s
                Individual Motion to Dismiss the DPPs’, EPPs’, and IRPs’ Class Action Complaints
                [Doc. No. 177 in 16-CB-27240] is DENIED to the extent that it seeks to dismiss the
                Sherman Act claims brought by the Group 1 clobetasol DPPs, EPPs, and IRPs;
     5.         Defendants Akorn, Inc.’s and Hi-Tech Pharmacal Co., Inc.’s Individual Motion to
                Dismiss the DPPs’, EPPs’, and IRPs’ Class Action Complaints [Doc. No. 178 in 16-
                CB-27240] is DENIED to the extent that it seeks to dismiss the Sherman Act claims
                brought by the Group 1 clobetasol DPPs, EPPs, and IRPs;
     6.         Defendant Perrigo New York Inc.’s Individual Motion to Dismiss the DPPs’, EPPs’,
                and IRPs’ Class Action Complaints [Doc. No. 179 in 16-CB027240] is DENIED to
                the extent that it seeks to dismiss the Sherman Act claims brought by the Group 1
                clobetasol DPPs, EPPs, and IRPs.
     7.         Defendants Actavis Holdco U.S., Inc.’s and Actavis Pharma, Inc.’s Individual Motion
                to Dismiss the DPPs’, EPPs’, and IRPs’ Class Action Complaints [Doc. No. 180 in
                16-CB-27240] is DENIED to the extent that it seeks to dismiss the Sherman Act
                claims brought by the Group 1 clobetasol DPPs, EPPs, and IRPs.



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         To the extent that Group 1 Defendants move to dismiss the state law claims brought on behalf of the
Group 1 EPPs and IRPs, the Court intends to address those claims separately.


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B.        Digoxin Actions

     1.      Defendants’ Joint Motion to Dismiss the DPPs’ Class Action Complaint [Doc. No. 81
             in 16-DG-27241] is DENIED;
     2.      Defendants’ Joint Motion to Dismiss the EPPs’ Class Action Complaint [Doc. No.
             139 in 16-DG-27242] is DENIED to the extent that it seeks to dismiss the first count
             of the digoxin EPPs’ Class Action Complaint;
     3.      Defendants’ Joint Motion to Dismiss the IRPs’ Class Action Complaint [Doc. No. 48
             in 16-DG 27243] is DENIED to the extent that it seeks to dismiss the first count of
             the digoxin IRPs’ Class Action Complaint;
     4.      Defendant West-Ward Pharmaceuticals Corp.’s Individual Motion to Dismiss the
             Class Action Complaints [Doc. No. 192 in 16-DG-27240] is DENIED to the extent
             that it seeks to dismiss the Sherman Act claims brought by the Group 1 digoxin DPPs,
             EPPs, and IRPs;
     5.      Defendant Impax Laboratories, Inc.’s Individual Motion to Dismiss the DPPs’,
             EPPs’, and IRPs’ Class Action Complaints [Doc. No. 193 in 16-DG-27240] is
             DENIED to the extent that it seeks to dismiss the Sherman Act claims brought by the
             Group 1 digoxin DPPs, EPPs, and IRPs;
     6.      Defendant Par Pharmaceutical Inc.’s Individual Motion to Dismiss the DPPs’, EPPs’,
             and IRPs’ Class Action Complaints [Doc. No. 194 in 16-DG-27240] is DENIED to
             the extent that it seeks to dismiss the Sherman Act claims brought by the Group 1
             digoxin DPPs, EPPs, and IRPs;
     7.      Defendants Mylan Inc.’s and Mylan Pharmaceuticals Inc.’s Individual Motion to
             Dismiss the DPPs’, EPPs’, and IRPs’ Class Action Complaints [Doc. No. 195 in 16-
             DG-27240] is DENIED to the extent that it seeks to dismiss the Sherman Act claims
             brought by the Group 1 digoxin DPPs, EPPs, and IRPs.


C.        Divalproex ER Actions

     1.      Defendants’ Joint Motion to Dismiss the DPPs’ Class Action Complaint [Doc. No. 79
             in 16-DV-27241] is DENIED;
     2.      Defendants’ Joint Motion to Dismiss the EPPs’ Class Action Complaint [Doc. No.



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             102 in 16-DV-27242] is DENIED to the extent that it seeks to dismiss the first count
             of the divalproex ER EPPs’ Class Action Complaint;
     3.      Defendants’ Joint Motion to Dismiss the IRPs’ Consolidated Class Action Complaint
             [Doc. No. 24 in 16-DV-27243] is DENIED to the extent that it seeks to dismiss the
             first count of the divalproex ER IRPs’ Class Action Complaint;
     4.      Defendants Dr. Reddy’s Laboratories, Inc.’s and Zydus Pharmaceuticals [USA],
             Inc.’s Individual Motion to Dismiss the DPPs’, EPPs’, and IRPs’ Class Action
             Complaints [Doc. No. 161 in 16-DV-27240] is DENIED to the extent that it seeks to
             dismiss the Sherman Act claims brought by the Group 1 divalproex ER DPPs, EPPs,
             and IRPs;
     5.      Defendants Mylan Inc.’s and Mylan Pharmaceuticals Inc.’s Individual Motion to
             Dismiss the DPPs’, EPPs’, and IRPs’ Class Action Complaints [Doc. No. 162 in 16-
             DV-27240] is DENIED to the extent that it seeks to dismiss the Sherman Act claims
             brought by the Group 1 divalproex ER DPPs, EPPs, and IRPs.


D.        Doxycycline Actions

     1.      Defendants’ Joint Motion to Dismiss the DPPs’ Class Action Complaint [Doc. No. 92
             in 16-DX-27241] is DENIED;
     2.      Defendants’ Joint Motion to Dismiss the EPPs’ Class Action Complaint [Doc. No.
             162 in 16-DX-27242] is DENIED to the extent that it seeks to dismiss the first count
             of the doxycycline EPPs’ Class Action Complaint;
     3.      Defendants’ Joint Motion to Dismiss the IRPs’ Class Action Complaint [Doc. No. 57
             in 16-DX 27243] is DENIED to the extent that it seeks to dismiss the first count of
             the doxycycline IRPs’ Class Action Complaint;
     4.      Defendant Mayne Pharma Inc.’s Individual Motion to Dismiss the DPPs’, EPPs’, and
             IRPs’ Class Action Complaints [Doc. No. 295 in 16-DX-27240] is DENIED to the
             extent that it seeks to dismiss the Sherman Act claims brought by the Group 1
             doxycycline DPPs, EPPs, and IRPs;
     5.      Defendant West-Ward Pharmaceuticals Corp.’s Individual Motion to Dismiss the
             DPPs’, EPPs’, and IRPs’ Class Action Complaints [Doc. No. 296 in 16-DX-27240] is
             DENIED to the extent that it seeks to dismiss the Sherman Act claims brought by the


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             Group 1 doxycycline DPPs, EPPs, and IRPs;
     6.      Defendant Par Pharmaceutical, Inc.’s Individual Motion to Dismiss the DPPs’, EPPs’,
             and IRPs’ Class Action Complaints [Doc. No. 297 in 16-DX 27240] is DENIED to
             the extent that it seeks to dismiss the Sherman Act claims brought by the Group 1
             doxycycline DPPs, EPPs, and IRPs;
     7.      Defendants Mylan Inc.’s and Mylan Pharmaceuticals Inc.’s Individual Motion to
             Dismiss the DPPs’, EPPs’, and IRPs’ Class Action Complaints [Doc. No. 298 in 16-
             DX-27240] is DENIED to the extent that it seeks to dismiss the Sherman Act claims
             brought by the Group 1 doxycycline DPPs, EPPs, and IRPs;
     8.      Defendant Actavis Holdco U.S., Inc.’s and Actavis Pharma, Inc.’s Individual Motion
             to Dismiss the DPPs’, EPPs’, and IRPs’ Class Action Complaints [Doc. No. 299 in
             16-DX-27240] is DENIED to the extent that it seeks to dismiss the Sherman Act
             claims brought by the Group 1 doxycycline DPPs, EPPs, and IRPs.


E.        Econazole Actions

     1.      Defendants’ Joint Motion to Dismiss the DPPs’ Class Action Complaint [Doc. No. 67
             in 16-EC-27241] is DENIED;
     2.      Defendants’ Joint Motion to Dismiss the EPPs’ Class Action Complaint [Doc. No.
             114 in 16-EC-27242] is DENIED to the extent that it seeks to dismiss the first count
             of the econazole EPPs’ Class Action Complaint;
     3.      Defendants’ Joint Motion to Dismiss the IRPs’ Class Action Complaint [Doc. No. 23
             in 16-EC-27243] is DENIED to the extent that it seeks to dismiss the first count of
             the econazole IRPs’ Class Action Complaint;
     4.      Defendant Teligent, Inc.’s Individual Motion to Dismiss the DPPs’, EPPs’, and IRPs’
             Class Action Complaints [Doc. No. 164 in 16-EC-27240] is GRANTED. The
             Sherman Act claims of the econazole DPPs, EPPs, and IRPs against Defendant
             Teligent are DISMISSED without prejudice. Econazole Plaintiffs may seek leave to
             amend their Sherman Act claims against Teligent pursuant to the provisions of
             Pretrial Order No. 51.




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F.        Pravastatin Actions

     1.      Defendants’ Joint Motion to Dismiss the DPPs’ Class Action Complaint [Doc. No. 70
             in 16-PC-27241] is DENIED;
     2.      Defendants’ Joint Motion to Dismiss the EPPs’ Class Action Complaint [Doc. No.
             114 in 16-PV-27242] is DENIED to the extent that it seeks to dismiss the first count
             of the pravastatin EPPs’ Class Action Complaint;
     3.      Defendants’ Joint Motion to Dismiss the IRPs’ Class Action Complaint [Doc. No. 33
             in 16-PV-27243] is DENIED to the extent that it seeks to dismiss the first count of
             the pravastatin IRPs’ Class Action Complaint;
     4.      Apotex Corp.’s Individual Motion to Dismiss the DPPs’, EPPs’, and IRPs’ Class
             Action Complaints [Doc. No. 168 in 16-PV-27240] is DENIED to the extent that it
             seeks to dismiss the Sherman Act claims brought by the Group 1 pravastatin DPPs,
             EPPs, and IRPs.
     5.      Glenmark Pharmaceuticals, Inc. USA’s Individual Motion to Dismiss the DPPs’,
             EPPs’, and IRPs’ Class Action Complaints [Doc. No. 169 in 16-PV-27240] is
             DENIED to the extent that it seeks to dismiss the Sherman Act claims brought by the
             Group 1 pravastatin DPPs, EPPs, and IRPs.
     6.      Sandoz Inc.’s Individual Motion to Dismiss the DPPs’, EPPs’, and IRPs’ Class
             Action Complaints [Doc. No. 170 in 16-PV-27240] is DENIED to the extent that it
             seeks to dismiss the Sherman Act claims brought by the Group 1 pravastatin DPPs,
             EPPs, and IRPs.


          It is so ORDERED.

                                                      BY THE COURT:

                                                      /s/ Cynthia M. Rufe

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                                                      CYNTHIA M. RUFE, J.




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